                                       Case 8:10-bk-01013-CED                                     Doc 1           Filed 01/19/10                 Page 1 of 55
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                          Middle District of Florida                                                                             Voluntary Petition
         }
         b
         k
         1
         {
         F
         o
         r
         m
         .
         V
         l
         u
         n
         t
         a
         y
         P
         e
         i




 Name of Debtor (if individual, enter Last, First, Middle):                                               Name of Joint Debtor (Spouse) (Last, First, Middle):
  Longenecker, Michael S


All Other Names used by the Debtor in the last 8 years                                                    All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                               (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                             (if more than one, state all)
  xxx-xx-3997
Street Address of Debtor (No. and Street, City, and State):                                               Street Address of Joint Debtor (No. and Street, City, and State):
  108 Carlton Street
  Wauchula, FL
                                                                                         ZIP Code                                                                                      ZIP Code
                                                                                       33873
County of Residence or of the Principal Place of Business:                                                County of Residence or of the Principal Place of Business:
  Hardee
Mailing Address of Debtor (if different from street address):                                             Mailing Address of Joint Debtor (if different from street address):
  901 W. Waldron Street
  Arcadia, FL
                                                                                         ZIP Code                                                                                      ZIP Code
                                                                                       34266
Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                         Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                       (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                                Health Care Business                                  Chapter 7
                                                                  Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                           in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                               Chapter 11
                                                                  Railroad
                                                                                                                        Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                            Stockbroker
                                                                                                                        Chapter 13                       of a Foreign Nonmain Proceeding
                                                                  Commodity Broker
    Partnership
                                                                  Clearing Bank
    Other (If debtor is not one of the above entities,            Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                  (Check one box)
                                                                          Tax-Exempt Entity
                                                                         (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                  Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                  under Title 26 of the United States                   "incurred by an individual primarily for
                                                                  Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                               Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                          Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                                 to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                          Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                               A plan is being filed with this petition.
                                                                                                                 Acceptances of the plan were solicited prepetition from one or more
                                                                                                                 classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-         1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999          5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001     $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1        to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million      million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001     $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1        to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million      million      million        million       million
                                  Case 8:10-bk-01013-CED                      Doc 1         Filed 01/19/10                 Page 2 of 55
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Longenecker, Michael S
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                Case 8:10-bk-01013-CED                            Doc 1         Filed 01/19/10              Page 3 of 55
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Longenecker, Michael S
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Michael S Longenecker                                                            X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Michael S Longenecker

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     January 19, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Sheila D. Norman
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Sheila D. Norman 849642                                                                  debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Norman and Bullington, P.A.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1905 W. Kennedy Boulevard
      Tampa, FL 33606                                                                          Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                  Email: sheila@normanandbullington.com
      813-251-6666
     Telephone Number
     January 19, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                 Case 8:10-bk-01013-CED                                Doc 1    Filed 01/19/10    Page 4 of 55



B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                            Middle District of Florida
 In re       Michael S Longenecker                                                                               Case No.
                                                                                          Debtor(s)              Chapter    11




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

        4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                             Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                            Doc 1       Filed 01/19/10        Page 5 of 55



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                               Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
              deficiency so as to be incapable of realizing and making rational decisions with respect to financial
              responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
              unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
              through the Internet.);
                       Active military duty in a military combat zone.

        5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:               /s/ Michael S Longenecker
                                                                                             Michael S Longenecker
                                                          Date:           January 19, 2010




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                       Case 8:10-bk-01013-CED                          Doc 1        Filed 01/19/10           Page 6 of 55


B4 (Official Form 4) (12/07)
                                                                 United States Bankruptcy Court
                                                                            Middle District of Florida
 In re       Michael S Longenecker                                                                                   Case No.
                                                                                        Debtor(s)                    Chapter         11


                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                       Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
             accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
             persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
             the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
             If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
             address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
             name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                      (1)                                                    (2)                             (3)                       (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                Nature of claim (trade    Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of            debt, bank loan,          contingent,             secured, also state
 code                                            employee, agent, or department of creditor         government contract,      unliquidated,           value of security]
                                                 familiar with claim who may be contacted           etc.)                     disputed, or subject
                                                                                                                              to setoff
 Advanta Bank Corp.                              Advanta Bank Corp.                                 Business debt             Disputed                21,525.00
 PO Box 8088                                     PO Box 8088
 Philadelphia, PA 19101-8088                     Philadelphia, PA 19101-8088
 Aurora Loan Services                            Aurora Loan Services                               Homestead located                                 111,592.00
 10350 Park Meadows Drive                        10350 Park Meadows Drive                           at 901 W. Waldron
 Littleton, CO 80124                             Littleton, CO 80124                                St, Arcadia, FL                                   (45,000.00
                                                                                                    34266                                             secured)
 Bank of Amercia                                 Bank of Amercia                                    Non-Homestead                                     92,730.00
 PO Box 26078                                    PO Box 26078                                       located at 303
 Greensboro, NC 27420                            Greensboro, NC 27420                               Bridle Path                                       (35,000.00
                                                                                                                                                      secured)
 Bank of America                                 Bank of America                                    Business debt                                     52,992.00
 PO Box 15710                                    PO Box 15710
 Wilmington, DE 19886-5710                       Wilmington, DE 19886-5710
 Bank of America                                 Bank of America                                    Business debt                                     50,806.00
 PO Box 15102                                    PO Box 15102
 Wilmington, DE 19886-5102                       Wilmington, DE 19886-5102
 Bank of America                                 Bank of America                                    Business debt             Contingent              28,517.00
 PO Box 22031                                    PO Box 22031
 Greensboro, NC 27420                            Greensboro, NC 27420
 Bank of America                                 Bank of America                                    Purchases                                         27,146.00
 PO Box 15019                                    PO Box 15019
 Wilmington, DE 19886-5019                       Wilmington, DE 19886-5019
 Bank of America                                 Bank of America                                    Purchases                 Contingent              38,789.00
 PO Box 22031                                    PO Box 22031
 Greensboro, NC 27420                            Greensboro, NC 27420
 Bank of America                                 Bank of America                                    Business debt                                     37,348.00
 PO Box 15710                                    PO Box 15710
 Wilmington, DE 19886-5710                       Wilmington, DE 19886-5710
 CitiMortgage, Inc.                              CitiMortgage, Inc.                                 Non-Homestead                                     217,000.00
 PO Box 6006                                     PO Box 6006                                        located at 2835
 The Lakes, NV 88901-6006                        The Lakes, NV 88901-6006                           Cypress Trace Cr,                                 (50,000.00
                                                                                                    Unit 203, Naples,                                 secured)
                                                                                                    FL 34119
                                                                                                    (Daughter's
                                                                                                    residence)


Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                                 Best Case Bankruptcy
                                       Case 8:10-bk-01013-CED                              Doc 1     Filed 01/19/10            Page 7 of 55


B4 (Official Form 4) (12/07) - Cont.
 In re      Michael S Longenecker                                                                                       Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                    (2)                               (3)                       (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade    Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,          contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,      unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                     disputed, or subject
                                                                                                                                to setoff
 First State Bank                                First State Bank                                     Non-Homestead                                     130,533.00
 400 N. Brevard Ave                              400 N. Brevard Ave                                   located at 209 &                                  (35,000.00
 Arcadia, FL 34266                               Arcadia, FL 34266                                    215 N. Brevard                                    secured)
                                                                                                      Ave, Arcadia, FL                                  (33,338.00 senior
                                                                                                                                                        lien)
 Office Depot                                    Office Depot                                         Business debt                                     27,474.00
 PO Box 15153                                    PO Box 15153
 Wilmington, DE 19886-5153                       Wilmington, DE 19886-5153
 Regions Bank                                    Regions Bank                                         Business debt                                     47,695.00
 PO Box 2224                                     PO Box 2224
 Birmingham, AL 35246                            Birmingham, AL 35246
 Regions Bank                                    Regions Bank                                         Homestead located                                 37,773.00
 PO Box 11007                                    PO Box 11007                                         at 901 W. Waldron                                 (45,000.00
 Birmingham, AL 35288                            Birmingham, AL 35288                                 St, Arcadia, FL                                   secured)
                                                                                                      34266                                             (111,592.00
                                                                                                                                                        senior lien)
 Suncoast Schools FCU                            Suncoast Schools FCU                                 2007 Dodge Ram                                    29,442.00
 PO Box 11829                                    PO Box 11829                                         1500 Truck
 Tampa, FL 33680                                 Tampa, FL 33680                                      VIN#                                              (7,500.00
                                                                                                      3D3KR19D17G7652                                   secured)
                                                                                                      25
 SunTrust Bank                                   SunTrust Bank                                        Business debt                                     97,891.00
 PO Box 79079                                    PO Box 79079
 Baltimore, MD 21279                             Baltimore, MD 21279
 SunTrust Mortgage                               SunTrust Mortgage                                    Non-homestead                                     73,368.00
 PO Box 79041                                    PO Box 79041                                         located at 816 W.
 Baltimore, MD 21279-0041                        Baltimore, MD 21279-0041                             Waldron St,                                       (20,000.00
                                                                                                      Arcadia, FL 34266                                 secured)
 SunTrust Mortgage Inc                           SunTrust Mortgage Inc                                Non-Homestead                                     73,630.00
 PO Box 79041                                    PO Box 79041                                         located at 4640 NE
 Baltimore, MD 21279-0041                        Baltimore, MD 21279-0041                             Hwy. 17, Arcadia,                                 (25,000.00
                                                                                                      FL 34266                                          secured)
 SunTrust Mortgage Inc                           SunTrust Mortgage Inc                                Non-Homestead                                     73,630.00
 PO Box 79041                                    PO Box 79041                                         located at 712 N.
 Baltimore, MD 21279-0041                        Baltimore, MD 21279-0041                             Mills Ave, Arcadia,                               (30,000.00
                                                                                                      FL 34266                                          secured)
 Wachula State Bank                              Wachula State Bank                                   12 lots, Arcadia, FL                              261,876.00
 106 E. Main St.                                 106 E. Main St.                                      34266 - Lots 7 to 14
 Wauchula, FL 33873                              Wauchula, FL 33873                                   inc & lots 16 18 20                               (23,250.00
                                                                                                      & 22,                                             secured)




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
                                       Case 8:10-bk-01013-CED                              Doc 1      Filed 01/19/10     Page 8 of 55


B4 (Official Form 4) (12/07) - Cont.
 In re      Michael S Longenecker                                                                                    Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                                                 DECLARATION UNDER PENALTY OF PERJURY
                                               ON BEHALF OF A CORPORATION OR PARTNERSHIP
                       I, Michael S Longenecker, the debtor in this case, declare under penalty of perjury that I have read the foregoing
             list and that it is true and correct to the best of my information and belief.


 Date January 19, 2010                                                         Signature     /s/ Michael S Longenecker
                                                                                             Michael S Longenecker
                                                                                             Debtor

          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                           18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                Doc 1     Filed 01/19/10     Page 9 of 55
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                                  United States Bankruptcy Court
                                                                                Middle District of Florida
  In re          Michael S Longenecker                                                                                 Case No.
                                                                                                                  ,
                                                                                               Debtor
                                                                                                                       Chapter                 11




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF            ASSETS               LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                   316,250.00


B - Personal Property                                             Yes                 4                    48,529.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 5                                      1,277,990.00


E - Creditors Holding Unsecured                                   Yes                 1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 10                                         574,445.24
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                 4,465.47
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                 3,924.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            26


                                                                                Total Assets              364,779.00


                                                                                                   Total Liabilities         1,852,435.24




Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                 Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                              Doc 1     Filed 01/19/10     Page 10 of 55
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                                  United States Bankruptcy Court
                                                                                Middle District of Florida
  In re           Michael S Longenecker                                                                             Case No.
                                                                                                                ,
                                                                                              Debtor
                                                                                                                    Chapter                11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                                     TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                             Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                        Doc 1        Filed 01/19/10        Page 11 of 55
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re          Michael S Longenecker                                                                              Case No.
                                                                                                        ,
                                                                                          Debtor

                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption

Homestead located at 901 W. Waldron St, Arcadia,                                Fee simple                  -                   45,000.00               149,365.00
FL 34266

Non-homestead located at 816 W. Waldron St,                                     Fee simple                  -                   20,000.00                73,368.00
Arcadia, FL 34266

Non-Homestead located at 712 N. Mills Ave,                                      Fee simple                  -                   30,000.00                73,630.00
Arcadia, FL 34266

Non-Homestead located at 4640 NE Hwy. 17,                                       Fee simple                  -                   25,000.00                73,630.00
Arcadia, FL 34266

Non-Homestead located at 303 Bridle Path                                        Fee simple                  -                   35,000.00                92,730.00

Non-Homestead located at 2835 Cypress Trace Cr,                                 Fee simple                  -                   50,000.00               218,780.00
Unit 203, Naples, FL 34119
(Daughter's residence)

Non-Homestead located at 209 & 215 N. Brevard                                   Fee simple                  -                   35,000.00               163,871.00
Ave, Arcadia, FL

Non-Homestead located at 1150 SE Mills Ave,                                     Fee simple                  -                   18,000.00                33,000.00
Arcadia, FL

Vacant lot located at 1836 Voss Oaks Cr, Arcadia,                               Fee simple                  J                   35,000.00                15,130.00
FL 34266

12 lots, Arcadia, FL 34266 - Lots 7 to 14 inc & lots                            Fee simple                  -                   23,250.00               261,876.00
16 18 20 & 22,




                                                                                                        Sub-Total >            316,250.00       (Total of this page)

                                                                                                                Total >        316,250.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                          Doc 1      Filed 01/19/10            Page 12 of 55
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re          Michael S Longenecker                                                                                  Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Cash                                                              -                            25.00

2.     Checking, savings or other financial                      Checking account with SunTrust (rental)                           -                              2.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        checking account through Bank of America                          -                              0.00
       thrift, building and loan, and
       homestead associations, or credit                         savings account through Bank of America                           -                            25.00
       unions, brokerage houses, or
       cooperatives.                                             Joint checking account located at SunTrust Bank                   J                           250.00

                                                                 checking account located at First State Bank                      -                           700.00
                                                                 (Special Account)

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          2 couches, 2 chairs, table, 3 lamps, clock, 3 beds,               J                        1,000.00
       including audio, video, and                               dresser, TV, VCR, DVD, refrigerator, stove,
       computer equipment.                                       microwave, appliances, washer, dryer, computer
                                                                 system, pots, pans, utensils, linens

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          various clothing                                                  -                            25.00

7.     Furs and jewelry.                                         watch, gold chain bracelet                                        -                            50.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                          whole life insurance through Allstate (no cash                    -                              0.00
       Name insurance company of each                            value)
       policy and itemize surrender or
       refund value of each.




                                                                                                                                   Sub-Total >            2,077.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                          Doc 1      Filed 01/19/10            Page 13 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Michael S Longenecker                                                                                  Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          100% ownership of stock in DeSoto Appliance &                     -                              0.00
    and unincorporated businesses.                               Repair, LLC
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                          Doc 1      Filed 01/19/10            Page 14 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Michael S Longenecker                                                                                  Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2007 Dodge Ram 1500 Truck                                         -                        7,500.00
    other vehicles and accessories.                              VIN# 3D3KR19D17G765225

                                                                 2005 Ford F150                                                    -                        4,875.00
                                                                 VIN# 1FTPF12565KC03126
                                                                 Business vehicle

                                                                 2008 Nissan Titan                                                 -                      10,775.00
                                                                 VIN# 1N6BA07D98N327698

                                                                 2008 Mercedes Benz C350                                           J                        6,000.00
                                                                 VIN# WDDGF56X18R031673

                                                                 2008 Ford                                                         J                      12,000.00
                                                                 VIN# 1FMFK17538LA16324

                                                                 2004 Chevrolet Astro Van                                          -                           500.00
                                                                 VIN# 1GCDM19X64B132329

                                                                 2005 Chevrolet Express G2500 Van                                  -                        1,500.00
                                                                 VIN# 1GCGG25V551231620
                                                                 Business vehicle

                                                                 1979 Dodge Truck                                                  -                           200.00
                                                                 VIN# D13JS9S212992




                                                                                                                                   Sub-Total >          43,350.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                          Doc 1      Filed 01/19/10            Page 15 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Michael S Longenecker                                                                                  Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption
                                                                 2001 Isuzu Truck                                                   -                          500.00
                                                                 VIN# JALB4B14017002591

                                                                 2008 (IRKG) Trailer                                                -                          100.00
                                                                 VIN# 1Z9BU121081330019

                                                                 2006 Ford Econoline E150                                           -                       2,500.00
                                                                 VIN# 1FTRE14W26DB11809
                                                                 (Business vehicle)

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                     2 dogs                                                             -                             2.00

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >            3,102.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         48,529.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                              Doc 1       Filed 01/19/10           Page 16 of 55
 B6C (Official Form 6C) (12/07)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re          Michael S Longenecker                                                                                      Case No.
                                                                                                                  ,
                                                                                                Debtor

                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                           Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                           $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                     Value of            Current Value of
                    Description of Property                                               Each Exemption                         Claimed             Property Without
                                                                                                                                Exemption          Deducting Exemption
Real Property
Homestead located at 901 W. Waldron St,                                          Fla. Const. art. X, § 4(a)(1); Fla. Stat.                100%                 45,000.00
Arcadia, FL 34266                                                                Ann. §§ 222.01, 222.02, 222.05

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account with SunTrust (rental)           Fla. Stat. Ann. § 222.11(2)(b)                                                            75%                       2.00

Joint checking account located at SunTrust                                       Fla. Stat. Ann. § 222.201; 11 U.S.C. §                  250.00                    250.00
Bank                                                                             522(d)(10)(A)

Household Goods and Furnishings
2 couches, 2 chairs, table, 3 lamps, clock, 3                                    Fla. Const. art. X, § 4(a)(2)                          1,000.00                2,000.00
beds, dresser, TV, VCR, DVD, refrigerator,
stove, microwave, appliances, washer, dryer,
computer system, pots, pans, utensils, linens

Automobiles, Trucks, Trailers, and Other Vehicles
2004 Chevrolet Astro Van                                                         Fla. Stat. Ann. § 222.25(1)                             500.00                    500.00
VIN# 1GCDM19X64B132329

2001 Isuzu Truck                                                                 Fla. Stat. Ann. § 222.25(1)                             500.00                    500.00
VIN# JALB4B14017002591




                                                                                                                  Total:                2,251.50               48,252.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                           Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                Doc 1         Filed 01/19/10            Page 17 of 55
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re          Michael S Longenecker                                                                                           Case No.
                                                                                                                     ,
                                                                                                     Debtor

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                             O    N   I
                                                                D   H          DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W             NATURE OF LIEN, AND                         I    Q   U                      PORTION, IF
                                                                T   J           DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. xxxxxx2790                                                  First Mortgage                                             E
                                                                                                                                   D

Aurora Loan Services                                                    Homestead located at 901 W. Waldron
10350 Park Meadows Drive                                                St, Arcadia, FL 34266
Littleton, CO 80124
                                                                    -

                                                                         Value $                              45,000.00                        111,592.00           66,592.00
Account No. xxxxxx0651                                                  First Mortgage

Bank of Amercia                                                         Non-Homestead located at 303 Bridle
PO Box 26078                                                            Path
Greensboro, NC 27420
                                                                    -

                                                                         Value $                              35,000.00                         92,730.00           57,730.00
Account No.                                                             First Mortgage

CitiMortgage, Inc.                                                      Non-Homestead located at 2835 Cypress
PO Box 6006                                                             Trace Cr, Unit 203, Naples, FL 34119
The Lakes, NV 88901-6006                                                (Daughter's residence)
                                                                    -

                                                                         Value $                              50,000.00                        217,000.00         167,000.00
Account No.                                                             Homeowner Assoc. Fees

Cypress Trace Gardens Assoc                                             Non-Homestead located at 2835 Cypress
c/o Pavese Law Firm                                                     Trace Cr, Unit 203, Naples, FL 34119
PO Drawer 1565                                                          (Daughter's residence)
                                                                    -                                                         X X
Fort Myers, FL 33902-1565

                                                                         Value $                              50,000.00                          1,780.00             1,780.00
                                                                                                                           Subtotal
 4
_____ continuation sheets attached                                                                                                             423,102.00         293,102.00
                                                                                                                  (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                Doc 1         Filed 01/19/10            Page 18 of 55
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                           Case No.
                                                                                                                     ,
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                             First Mortgage                                             E
                                                                                                                                   D

First State Bank                                                        Non-Homestead located at 209 & 215 N.
400 N. Brevard Ave.                                                     Brevard Ave, Arcadia, FL
Arcadia, FL 34266
                                                                    -

                                                                         Value $                              35,000.00                         33,338.00                   0.00
Account No.                                                             First Mortgage

First State Bank                                                        Non-Homestead located at 1150 SE Mills
400 N. Brevard Ave                                                      Ave, Arcadia, FL
Arcadia, FL 34266
                                                                    -                                                         X X

                                                                         Value $                              18,000.00                         33,000.00           15,000.00
Account No.                                                             Second Mortgage

First State Bank                                                        Non-Homestead located at 209 & 215 N.
400 N. Brevard Ave                                                      Brevard Ave, Arcadia, FL
Arcadia, FL 34266
                                                                    -

                                                                         Value $                              35,000.00                        130,533.00         128,871.00
Account No.                                                             Purchase Money Security

Ford Credit                                                             2006 Ford Econoline E150
PO Box 55000                                                            VIN# 1FTRE14W26DB11809
Detroit, MI 48255-1941                                                  (Business vehicle)
                                                               X -

                                                                         Value $                               2,500.00                         18,000.00           15,500.00
Account No. xxxxxx7470                                                  Purchase Money Security

Mercedes-Benz Financial                                                 2008 Mercedes Benz C350
PO Box 9001680                                                          VIN# WDDGF56X18R031673
Louisville, KY 40290-1680
                                                               X -

                                                                         Value $                              12,000.00                         25,819.00           13,819.00
       1
Sheet _____    4
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               240,690.00         173,190.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                Doc 1         Filed 01/19/10            Page 19 of 55
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                           Case No.
                                                                                                                     ,
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                             Purchase Money Security                                    E
                                                                                                                                   D

Regions                                                                 2008 Ford
PO Box 11007                                                            VIN# 1FMFK17538LA16324
Birmingham, AL 35288
                                                               X -

                                                                         Value $                              12,000.00                         14,800.00             2,800.00
Account No.                                                             Second Mortgage

Regions Bank                                                            Homestead located at 901 W. Waldron
PO Box 11007                                                            St, Arcadia, FL 34266
Birmingham, AL 35288
                                                                    -

                                                                         Value $                              45,000.00                         37,773.00           37,773.00
Account No. xxxxx51-20                                                  Purchase Money Security

Suncoast Schools FCU                                                    2007 Dodge Ram 1500 Truck
PO Box 11829                                                            VIN# 3D3KR19D17G765225
Tampa, FL 33680
                                                                    -

                                                                         Value $                               7,500.00                         29,442.00           21,942.00
Account No. xxxxx51-21                                                  Purchase Money Security

Suncoast Schools FCU                                                    2005 Ford F150
PO Box 11829                                                            VIN# 1FTPF12565KC03126
Tampa, FL 33680                                                         Business vehicle
                                                                    -

                                                                         Value $                               4,875.00                          9,586.00             4,711.00
Account No. xxxxx51-22                                                  Purchase Money Security

Suncoast Schools FCU                                                    2008 Nissan Titan
PO Box 11829                                                            VIN# 1N6BA07D98N327698
Tampa, FL 33680
                                                                    -

                                                                         Value $                              10,775.00                         21,592.00           10,817.00
       2
Sheet _____    4
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               113,193.00           78,043.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                Doc 1         Filed 01/19/10            Page 20 of 55
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                           Case No.
                                                                                                                     ,
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. xxxxxx4585                                                  Purchase Money Security                                    E
                                                                                                                                   D

SunTrust Bank                                                           2005 Chevrolet Express G2500 Van
PO Box 791144                                                           VIN# 1GCGG25V551231620
Baltimore, MD 21279-1144                                                Business vehicle
                                                                    -

                                                                         Value $                               1,500.00                          3,371.00             1,871.00
Account No. xxxxxx1609                                                  First Mortgage

SunTrust Mortgage                                                       Non-homestead located at 816 W.
PO Box 79041                                                            Waldron St, Arcadia, FL 34266
Baltimore, MD 21279-0041
                                                                    -

                                                                         Value $                              20,000.00                         73,368.00           53,368.00
Account No. xxxxxx1674                                                  First Mortgage

SunTrust Mortgage Inc                                                   Non-Homestead located at 712 N. Mills
PO Box 79041                                                            Ave, Arcadia, FL 34266
Baltimore, MD 21279-0041
                                                                    -

                                                                         Value $                              30,000.00                         73,630.00           43,630.00
Account No. xxxxxx1989                                                  First Mortgage

SunTrust Mortgage Inc                                                   Non-Homestead located at 4640 NE Hwy.
PO Box 79041                                                            17, Arcadia, FL 34266
Baltimore, MD 21279-0041
                                                                    -

                                                                         Value $                              25,000.00                         73,630.00           48,630.00
Account No. xxxx2871                                                    First Mortgage

Wachula State Bank                                                      Vacant lot located at 1836 Voss Oaks Cr,
106 E. Main St.                                                         Arcadia, FL 34266
Wauchula, FL 33873
                                                               X -

                                                                         Value $                              35,000.00                         15,130.00                   0.00
       3
Sheet _____    4
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               239,129.00         147,499.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                Doc 1         Filed 01/19/10            Page 21 of 55
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                           Case No.
                                                                                                                     ,
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. xxxx1211                                                    12 lots, Arcadia, FL 34266 - Lots 7 to 14                  E
                                                                        inc & lots 16 18 20 & 22,                                  D

Wachula State Bank
106 E. Main St.
Wauchula, FL 33873
                                                               X -

                                                                         Value $                              23,250.00                        261,876.00         238,626.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       4
Sheet _____    4
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               261,876.00         238,626.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)
                                                                                                                             Total           1,277,990.00         930,460.00
                                                                                                   (Report on Summary of Schedules)

 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                              Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                          Doc 1       Filed 01/19/10             Page 22 of 55
B6E (Official Form 6E) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          P
          l
          i
          o
          E
          t
          -
          y
          C
          a
          m
          H
          g
          U




  In re          Michael S Longenecker                                                                                    Case No.
                                                                                                              ,
                                                                                           Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                 Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 23 of 55
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor


                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                                 T   J                                                         N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No. xxxx-xxxx-xxxx-3244                                                          Business debt                                         T   T
                                                                                                                                                   E
                                                                                                                                                   D

Advanta Bank Corp.
PO Box 8088                                                                          -                                                                 X
Philadelphia, PA 19101-8088

                                                                                                                                                                        21,525.00
Account No. xxxxxx0811                                                                   Purchases

Bank of America
PO Box 22031                                                                         -                                                         X
Greensboro, NC 27420

                                                                                                                                                                        38,789.00
Account No. xxxx-xxxx-xxxx-0536                                                          Business debt

Bank of America
PO Box 22031                                                                         -                                                         X
Greensboro, NC 27420

                                                                                                                                                                        28,517.00
Account No.

FIA Card Services                                                                        Representing:
PO Box 15019                                                                             Bank of America                                                              Notice Only
Wilmington, DE 19886-5019



                                                                                                                                             Subtotal
 9
_____ continuation sheets attached                                                                                                                                      88,831.00
                                                                                                                                   (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                               S/N:32605-091210   Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 24 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxxxx2266                                                               Purchases                                                 E
                                                                                                                                                   D

Bank of America
PO Box 15019                                                                         -
Wilmington, DE 19886-5019

                                                                                                                                                                     27,146.00
Account No. xxxx-xxxx-xxxx-7965                                                          Purchases

Bank of America
PO Box 15019                                                                         -
Wilmington, DE 19886-5019

                                                                                                                                                                     13,985.00
Account No. xxxx-xxxx-xxxx-3060                                                          Business debt

Bank of America
PO Box 15710                                                                         -
Wilmington, DE 19886-5710

                                                                                                                                                                     52,992.00
Account No.

Bonded Collection Corp.                                                                  Representing:
29 E. Madsion St, #1650                                                                  Bank of America                                                           Notice Only
Chicago, IL 60602-4404



Account No. xxxx-xxxx-xxxx-1485                                                          Business debt

Bank of America
PO Box 15710                                                                         -
Wilmington, DE 19886-5710

                                                                                                                                                                     18,305.00

           1
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                   112,428.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 25 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxx4837                                                                 Business debt                                             E
                                                                                                                                                   D

Bank of America
PO Box 15102                                                                         -
Wilmington, DE 19886-5102

                                                                                                                                                                     50,806.00
Account No. xxxx-xxxx-xxxx-4811                                                          Purchases

Bank of America
PO Box 15019                                                                         -                                                         X X
Wilmington, DE 19886-5019

                                                                                                                                                                      Unknown
Account No. xxxx-xxxx-xxxx-5713                                                          Purchases

Bank of America
PO Box 15710                                                                         -                                                         X X
Wilmington, DE 19886-5710

                                                                                                                                                                      Unknown
Account No. xxxx-xxxx-xxxx-0811                                                          Business debt

Bank of America
PO Box 15710                                                                         -
Wilmington, DE 19886-5710

                                                                                                                                                                     37,348.00
Account No. xxxx-xxxx-xxxx-6317                                                          Purchases

Bill Me Later
PO Box 105658                                                                        -
Atlanta, GA 30348

                                                                                                                                                                         406.00

           2
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     88,560.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 26 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxx-xxxx-xxxx-7227                                                          Business debt                                             E
                                                                                                                                                   D

Capital One
PO Box 71083                                                                         -
Charlotte, NC 28272-1083

                                                                                                                                                                         134.00
Account No. xxxx-xxxx-xxxx-4199                                                          Purchases

Capital One
PO Box 71083                                                                         -
Charlotte, NC 28272-1083

                                                                                                                                                                       3,065.00
Account No. xxxx-xxxx-xxxx-0747                                                          Purchases

Capital One
PO Box 71083                                                                         -
Charlotte, NC 28272-1083

                                                                                                                                                                       1,892.00
Account No.

NCO Financial Systems                                                                    Representing:
PO Box 12100                                                                             Capital One                                                               Notice Only
Dept. 64
Trenton, NJ 08650


Account No. xxxxxxxxxxxx8414                                                             Purchases

Cardmember Services/ToysR Us
PO Box 94012                                                                         -
Palatine, IL 60094-4012

                                                                                                                                                                             1.00

           3
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       5,092.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 27 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                                                                                        E
                                                                                                                                                   D

Cardmember Services                                                                      Representing:
PO Box 15298                                                                             Cardmember Services/ToysR Us                                              Notice Only
Wilmington, DE 19850-5298



Account No. xxxx-xxxx-xxxx-6560                                                          Purchases

Chase
PO Box 15298                                                                         -
Wilmington, DE 19850-5298

                                                                                                                                                                       6,597.00
Account No. xxxx-xxxx-xxxx-3287                                                          Purchases

Circuit City/Chase
PO Box 15153                                                                         -
Wilmington, DE 19886-5153

                                                                                                                                                                       4,511.00
Account No. xxxxx3273                                                                    Business debt

DEX
PO Box 660834                                                                        -
Dallas, TX 75266-0834

                                                                                                                                                                       1,468.00
Account No. xxxx-xxxx-xxxx-0246                                                          Business debt

Discover
PO Box 71084                                                                         -
Charlotte, NC 28272-1084

                                                                                                                                                                       3,757.00

           4
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     16,333.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 28 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxx-xxxx-xxxx-8212                                                          Purchases                                                 E
                                                                                                                                                   D

Discover
PO Box 71084                                                                         -
Charlotte, NC 28272-1084

                                                                                                                                                                       2,213.00
Account No. xxxx-xxxx-xxxx-1748                                                          Purchases

FIA Card Services
PO Box 15019                                                                         -
Wilmington, DE 19886-5019

                                                                                                                                                                         224.00
Account No. xxxx-xxxx-xxxx-7965                                                          Purchases

FIA Card Services
PO Box 15019                                                                         -
Wilmington, DE 19886-5019

                                                                                                                                                                     13,708.00
Account No. xxxx-xxxx-xxxx-0811                                                          Purchases

FIA Card Services
PO Box 15019                                                                         -
Wilmington, DE 19886-5019

                                                                                                                                                                      Unknown
Account No. xxxx-xxxx-xxxx-9366                                                          Business debt

First Equity Card Corp.
PO Box 23029                                                                         -
Columbus, GA 31902-3029

                                                                                                                                                                     16,337.00

           5
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     32,482.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 29 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                                                                                        E
                                                                                                                                                   D

GECC
c/o Capital Solutions                                                            X -                                                           X X
500 Momany Drive
Saint Joseph, MI 49085
                                                                                                                                                                      Unknown
Account No. xxxxxxxxxxxx9390                                                             Business debt

Home Depot
PO Box 6029                                                                          -
The Lakes, NV 88901-6029

                                                                                                                                                                       1,804.00
Account No. xxxxxxxxxxxx3190                                                             Purchases

Home Depot Credit Services
Processing Center                                                                    -
Des Moines, IA 50364-0500

                                                                                                                                                                       7,374.00
Account No. xxxxxxxxxxxx3521                                                             Purchases

John Deere Credit
PO Box 4450                                                                          -
Carol Stream, IL 60197-4450

                                                                                                                                                                       2,165.00
Account No. xxxx-xxxx-xxxx-5577                                                          Purchases

Lexus Pursuits Visa
PO Box 790069                                                                        -
Saint Louis, MO 63179-0069

                                                                                                                                                                     14,962.00

           6
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     26,305.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 30 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxx-xxxx-xxxx-8317                                                          Business debt                                             E
                                                                                                                                                   D

Office Depot
PO Box 15153                                                                         -
Wilmington, DE 19886-5153

                                                                                                                                                                     27,474.00
Account No. 300343273                                                                    business advertising

R.H. Donnelley Publishing
c/o Caine & Weiner                                                               X -                                                                   X
PO Box 5010
Woodland Hills, CA 91365
                                                                                                                                                                       1,468.24
Account No. xxxxxxxx6877                                                                 Business debt

Regions Bank
PO Box 2224                                                                          -
Birmingham, AL 35246

                                                                                                                                                                     47,695.00
Account No.

Flexline                                                                                 Representing:
PO Box 216                                                                               Regions Bank                                                              Notice Only
Birmingham, AL 35201



Account No.

Kass Shuler Solomon                                                                      Representing:
PO Box 800                                                                               Regions Bank                                                              Notice Only
Tampa, FL 33601



           7
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     76,637.24
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10    Page 31 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxx6643                                                                    Purchases                                                 E
                                                                                                                                                   D

Shell Processing Center
PO Box 183018                                                                        -
Columbus, OH 43218-3018

                                                                                                                                                                         499.00
Account No. xxxx-xxxx-xxxx-3656                                                          Purchases

Suncoast Schools FCU
PO Box 11904                                                                         -
Tampa, FL 33680-1907

                                                                                                                                                                     14,402.00
Account No. xxxx-xxxx-xxxx-0919                                                          Business debt

SunTrust Bank
PO Box 791250                                                                        -
Baltimore, MD 21279-1250

                                                                                                                                                                       7,953.00
Account No.

SunTrust Bank                                                                            Representing:
PO Box 4997                                                                              SunTrust Bank                                                             Notice Only
Orlando, FL 32802-4997



Account No. xxxxxx7735                                                                   Business debt

SunTrust Bank
PO Box 79079                                                                         -
Baltimore, MD 21279

                                                                                                                                                                     97,891.00

           8
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                   120,745.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                     Case 8:10-bk-01013-CED                                    Doc 1           Filed 01/19/10        Page 32 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Michael S Longenecker                                                                                             Case No.
                                                                                                                           ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxx4112                                                                    Business debt                                                  E
                                                                                                                                                        D

TeleCheck Services Inc
PO Box 60028                                                                         -
City of Industry, CA 91716-0028

                                                                                                                                                                              347.00
Account No. xxxxxx9-001                                                                  Business debt

Toshiba - GE Capital
PO Box 740441                                                                        -
Atlanta, GA 30374-0441

                                                                                                                                                                            1,539.00
Account No. xxxx-xxxx-xxxx-2814                                                          Purchases

WaMu
PO Box 660487                                                                        -
Dallas, TX 75266-0487

                                                                                                                                                                            5,146.00
Account No.




Account No.




           9
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                            7,032.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              574,445.24


 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                    Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                      Doc 1     Filed 01/19/10           Page 33 of 55
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Michael S Longenecker                                                                         Case No.
                                                                                                       ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.

                     First Data Merchant Svc                                              ?
                     4000 Coral Ridge Dr.
                     Coral Springs, FL 33065-7614




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                    Best Case Bankruptcy
                                    Case 8:10-bk-01013-CED                      Doc 1   Filed 01/19/10       Page 34 of 55
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Michael S Longenecker                                                                     Case No.
                                                                                                   ,
                                                                                    Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR

                  DeSoto Appliance & Repair,LL                                          Ford Credit
                  209 N. Brevard Avenue                                                 PO Box 55000
                  Arcadia, FL 34266                                                     Detroit, MI 48255-1941

                  DeSoto Appliance & Repair,LL                                          Wachula State Bank
                  209 N. Brevard Avenue                                                 106 E. Main St.
                  Arcadia, FL 34266                                                     Wauchula, FL 33873

                  DeSoto Appliance & Repair,LL                                          Wachula State Bank
                  209 N. Brevard Avenue                                                 106 E. Main St.
                  Arcadia, FL 34266                                                     Wauchula, FL 33873

                  DeSoto Appliance & Repair,LL                                          R.H. Donnelley Publishing
                  209 N. Brevard Avenue                                                 c/o Caine & Weiner
                  Arcadia, FL 34266                                                     PO Box 5010
                                                                                        Woodland Hills, CA 91365

                  DeSoto Appliance & Repair,LL                                          GECC
                  209 N. Brevard Avenue                                                 c/o Capital Solutions
                  Arcadia, FL 34266                                                     500 Momany Drive
                                                                                        Saint Joseph, MI 49085

                  Kellie R. Longennecker                                                Mercedes-Benz Financial
                  2835 Cypress Trace Cir.                                               PO Box 9001680
                  Unit 203                                                              Louisville, KY 40290-1680
                  Naples, FL 34119

                  Leora Green                                                           Regions
                  PO Box 281                                                            PO Box 11007
                  Arcadia, FL 34265                                                     Birmingham, AL 35288




       0
               continuation sheets attached to Schedule of Codebtors
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
                           Case 8:10-bk-01013-CED                  Doc 1       Filed 01/19/10           Page 35 of 55
B6I (Official Form 6I) (12/07)

 In re    Michael S Longenecker                                                                         Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                          DEBTOR                                                        SPOUSE
Occupation                           self employed
Name of Employer                     DeSoto Appliance & Repair                               DeSoto Memorial
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $         1,972.53
2. Estimate monthly overtime                                                                             $          0.00          $             0.00

3. SUBTOTAL                                                                                              $             0.00       $         1,972.53


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $          139.23
     b. Insurance                                                                                        $             0.00       $          439.83
     c. Union dues                                                                                       $             0.00       $            0.00
     d. Other (Specify):                                                                                 $             0.00       $            0.00
                                                                                                         $             0.00       $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $          579.06

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $         1,393.47

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $         2,000.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):           Social Security                                                                     $         1,072.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         3,072.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         3,072.00       $         1,393.47

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,465.47
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                         Case 8:10-bk-01013-CED             Doc 1       Filed 01/19/10        Page 36 of 55
B6J (Official Form 6J) (12/07)

 In re    Michael S Longenecker                                                               Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,250.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   370.00
                   b. Water and sewer                                                                       $                    75.00
                   c. Telephone                                                                             $                   100.00
                   d. Other Internet/cable                                                                  $                   100.00
3. Home maintenance (repairs and upkeep)                                                                    $                   100.00
4. Food                                                                                                     $                   400.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    50.00
7. Medical and dental expenses                                                                              $                   120.00
8. Transportation (not including car payments)                                                              $                   225.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   100.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                   100.00
                   b. Life                                                                                  $                    59.00
                   c. Health                                                                                $                   150.00
                   d. Auto                                                                                  $                   125.00
                   e. Other rental property                                                                 $                   150.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Condo fees                                                                                        $                   400.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 3,924.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 4,465.47
b. Average monthly expenses from Line 18 above                                                              $                 3,924.00
c. Monthly net income (a. minus b.)                                                                         $                   541.47
                                 Case 8:10-bk-01013-CED                                 Doc 1     Filed 01/19/10    Page 37 of 55
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                  United States Bankruptcy Court
                                                                             Middle District of Florida
 In re       Michael S Longenecker                                                                                  Case No.
                                                                                             Debtor(s)              Chapter    11




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           28
             sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 19, 2010                                                          Signature    /s/ Michael S Longenecker
                                                                                             Michael S Longenecker
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                          Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1     Filed 01/19/10   Page 38 of 55

B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                             Middle District of Florida
 In re       Michael S Longenecker                                                                                 Case No.
                                                                                             Debtor(s)             Chapter    11


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $20,000.00                               2009 Income
                           $20,269.00                               2008 Income
                           $20,930.00                               2007 Income




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1     Filed 01/19/10        Page 39 of 55


                                                                                                                                                                2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $1,072.00                                2010 YTD: Husband Social Security
                           $12,864.00                               2009: Husband Social Security
                           $12,600.00                               2008: Husband Social Security

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                                 AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                             AMOUNT PAID           OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                              AMOUNT
                                                                                   DATES OF                                    PAID OR
                                                                                   PAYMENTS/                                 VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                                TRANSFERS         OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                           AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                      AMOUNT PAID           OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                  STATUS OR
 AND CASE NUMBER              NATURE OF PROCEEDING                                           AND LOCATION                     DISPOSITION
 Bank of America vs. Michael Foreclosure                                                     In the Circuit Court of the      pending
 Longenecker, et al, Case No.                                                                12th Judicial Circuit in and
 142009CA001072                                                                              for DeSoto County, Florida

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)



Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10     Page 40 of 55


                                                                                                                                                             3


 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10   Page 41 of 55


                                                                                                                                                                4

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                              OF PROPERTY
 Norman and Bullington, P.A.                                                                                           $10,000.00
 1905 W. Kennedy Boulevard
 Tampa, FL 33606

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                       DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                          AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)            IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10     Page 42 of 55


                                                                                                                                                             5

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                    DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                              DATES OF OCCUPANCY
 2835 Cypress Trace Cr, Unit 203
 Naples, FL 34119

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                          STATUS OR DISPOSITION




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10     Page 43 of 55


                                                                                                                                                               6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                      NATURE OF BUSINESS         ENDING DATES
 Desoto Appliance &                                                                                     Sales and service of       2003 - Present
 Repair LLC                                                                                             Home Appliances

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                                DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                   DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                            ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                      DATE ISSUED




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1     Filed 01/19/10      Page 44 of 55


                                                                                                                                                                  7

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                   DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                        (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                           PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                   NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                              OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                                  DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                              DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                      Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10      Page 45 of 55


                                                                                                                                                                      8


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date January 19, 2010                                                          Signature    /s/ Michael S Longenecker
                                                                                             Michael S Longenecker
                                                                                             Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
                                Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10   Page 46 of 55
B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                        UNITED STATES BANKRUPTCY COURT
                                                           MIDDLE DISTRICT OF FLORIDA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)


Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                            Best Case Bankruptcy
                                Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10   Page 47 of 55
Form B 201A, Notice to Consumer Debtor(s)                                                                                                 Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                            Best Case Bankruptcy
                                Case 8:10-bk-01013-CED                                 Doc 1       Filed 01/19/10        Page 48 of 55



B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                            Middle District of Florida
 In re       Michael S Longenecker                                                                                       Case No.
                                                                                          Debtor(s)                      Chapter        11


                                      CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                          UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                              Certification of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Michael S Longenecker                                                                         X /s/ Michael S Longenecker                   January 19, 2010
 Printed Name(s) of Debtor(s)                                                                    Signature of Debtor                         Date

 Case No. (if known)                                                                           X
                                                                                                   Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                            Best Case Bankruptcy
                                 Case 8:10-bk-01013-CED                                 Doc 1     Filed 01/19/10   Page 49 of 55




                                                                  United States Bankruptcy Court
                                                                             Middle District of Florida
 In re       Michael S Longenecker                                                                                 Case No.
                                                                                             Debtor(s)             Chapter    11




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      January 19, 2010                                                    /s/ Michael S Longenecker
                                                                                Michael S Longenecker
                                                                                Signature of Debtor




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                         Best Case Bankruptcy
                   Case 8:10-bk-01013-CED   Doc 1      Filed 01/19/10   Page 50 of 55


    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




Michael S Longenecker              Bill Me Later                           DeSoto Appliance & Repair,LL
901 W. Waldron Street              PO Box 105658                           209 N. Brevard Avenue
Arcadia, FL 34266                  Atlanta, GA 30348                       Arcadia, FL 34266



Sheila D. Norman                   Bonded Collection Corp.                 DEX
Norman and Bullington, P.A.        29 E. Madsion St, #1650                 PO Box 660834
1905 W. Kennedy Boulevard          Chicago, IL 60602-4404                  Dallas, TX 75266-0834
Tampa, FL 33606


Advanta Bank Corp.                 Capital One                             Discover
PO Box 8088                        PO Box 71083                            PO Box 71084
Philadelphia, PA 19101-8088        Charlotte, NC 28272-1083                Charlotte, NC 28272-1084



Aurora Loan Services               Cardmember Services                     FIA Card Services
10350 Park Meadows Drive           PO Box 15298                            PO Box 15019
Littleton, CO 80124                Wilmington, DE 19850-5298               Wilmington, DE 19886-5019



Bank of Amercia                    Cardmember Services/ToysR Us            First Data Merchant Svc
PO Box 26078                       PO Box 94012                            4000 Coral Ridge Dr.
Greensboro, NC 27420               Palatine, IL 60094-4012                 Coral Springs, FL 33065-7614



Bank of America                    Chase                                   First Equity Card Corp.
PO Box 22031                       PO Box 15298                            PO Box 23029
Greensboro, NC 27420               Wilmington, DE 19850-5298               Columbus, GA 31902-3029



Bank of America                    Circuit City/Chase                      First State Bank
PO Box 15019                       PO Box 15153                            400 N. Brevard Ave.
Wilmington, DE 19886-5019          Wilmington, DE 19886-5153               Arcadia, FL 34266



Bank of America                    CitiMortgage, Inc.                      First State Bank
PO Box 15710                       PO Box 6006                             400 N. Brevard Ave
Wilmington, DE 19886-5710          The Lakes, NV 88901-6006                Arcadia, FL 34266



Bank of America                    Cypress Trace Gardens Assoc             Flexline
PO Box 15102                       c/o Pavese Law Firm                     PO Box 216
Wilmington, DE 19886-5102          PO Drawer 1565                          Birmingham, AL 35201
                                   Fort Myers, FL 33902-1565
                    Case 8:10-bk-01013-CED   Doc 1     Filed 01/19/10   Page 51 of 55




Ford Credit                         Mercedes-Benz Financial                Suncoast Schools FCU
PO Box 55000                        PO Box 9001680                         PO Box 11829
Detroit, MI 48255-1941              Louisville, KY 40290-1680              Tampa, FL 33680



GECC                                NCO Financial Systems                  SunTrust Bank
c/o Capital Solutions               PO Box 12100                           PO Box 791250
500 Momany Drive                    Dept. 64                               Baltimore, MD 21279-1250
Saint Joseph, MI 49085              Trenton, NJ 08650


Home Depot                          Office Depot                           SunTrust Bank
PO Box 6029                         PO Box 15153                           PO Box 79079
The Lakes, NV 88901-6029            Wilmington, DE 19886-5153              Baltimore, MD 21279



Home Depot Credit Services          R.H. Donnelley Publishing              SunTrust Bank
Processing Center                   c/o Caine & Weiner                     PO Box 791144
Des Moines, IA 50364-0500           PO Box 5010                            Baltimore, MD 21279-1144
                                    Woodland Hills, CA 91365


John Deere Credit                   Regions                                SunTrust Bank
PO Box 4450                         PO Box 11007                           PO Box 4997
Carol Stream, IL 60197-4450         Birmingham, AL 35288                   Orlando, FL 32802-4997



Kass Shuler Solomon                 Regions Bank                           SunTrust Mortgage
PO Box 800                          PO Box 11007                           PO Box 79041
Tampa, FL 33601                     Birmingham, AL 35288                   Baltimore, MD 21279-0041



Kellie R. Longennecker              Regions Bank                           SunTrust Mortgage Inc
2835 Cypress Trace Cir.             PO Box 2224                            PO Box 79041
Unit 203                            Birmingham, AL 35246                   Baltimore, MD 21279-0041
Naples, FL 34119


Leora Green                         Shell Processing Center                TeleCheck Services Inc
PO Box 281                          PO Box 183018                          PO Box 60028
Arcadia, FL 34265                   Columbus, OH 43218-3018                City of Industry, CA 91716-0028



Lexus Pursuits Visa                 Suncoast Schools FCU                   Toshiba - GE Capital
PO Box 790069                       PO Box 11904                           PO Box 740441
Saint Louis, MO 63179-0069          Tampa, FL 33680-1907                   Atlanta, GA 30374-0441
                   Case 8:10-bk-01013-CED   Doc 1   Filed 01/19/10   Page 52 of 55




Wachula State Bank
106 E. Main St.
Wauchula, FL 33873



WaMu
PO Box 660487
Dallas, TX 75266-0487
                                Case 8:10-bk-01013-CED                                  Doc 1    Filed 01/19/10       Page 53 of 55


                                                                 United States Bankruptcy Court
                                                                            Middle District of Florida
 In re       Michael S Longenecker                                                                                    Case No.
                                                                                            Debtor(s)                 Chapter    11


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $              10,000.00
              Prior to the filing of this statement I have received                                               $              10,000.00
              Balance Due                                                                                         $                   0.00

2.     $    1,039.00          of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       January 19, 2010                                                              /s/ Sheila D. Norman
                                                                                            Sheila D. Norman
                                                                                            Norman and Bullington, P.A.
                                                                                            1905 W. Kennedy Boulevard
                                                                                            Tampa, FL 33606
                                                                                            813-251-6666
                                                                                            sheila@normanandbullington.com




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                         Best Case Bankruptcy
                                Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10   Page 54 of 55
B22B (Official Form 22B) (Chapter 11) (01/08)
 In re      Michael S Longenecker
                            Debtor(s)
 Case Number:
                                           (If known)


                                 CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                           Part I. CALCULATION OF CURRENT MONTHLY INCOME
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.     Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
     1
              b.     Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
              c.     Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
              All figures must reflect average monthly income received from all sources, derived during the six        Column A      Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before
              the filing. If the amount of monthly income varied during the six months, you must divide the             Debtor's     Spouse's
              six-month total by six, and enter the result on the appropriate line.                                      Income       Income

     2        Gross wages, salary, tips, bonuses, overtime, commissions.                                               $      0.00 $           1,972.64
              Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
              and enter the difference in the appropriate column(s) of Line 3. If more than one business
              profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
              number less than zero.
     3
                                                                          Debtor                 Spouse
               a.    Gross receipts                               $                0.00 $                0.00
               b.    Ordinary and necessary business expenses $                    0.00 $                0.00
               c.    Business income                              Subtract Line b from Line a                  $              0.00 $                 0.00
              Net Rental and other real property income. Subtract Line b from Line a and enter the
              difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
     4                                                                   Debtor                 Spouse
               a.    Gross receipts                               $          2,000.00 $                         0.00
               b.    Ordinary and necessary operating expenses $                  0.00 $                        0.00
               c.    Rent and other real property income          Subtract Line b from Line a                          $   2,000.00 $                0.00
     5        Interest, dividends, and royalties.                                                                      $      0.00 $                 0.00
     6        Pension and retirement income.                                                                           $      0.00 $                 0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     7        expenses of the debtor or the debtor's dependents, including child support paid for that
              purpose. Do not include alimony or separate maintenance payments or amounts paid by the
              debtor's spouse if Column B is completed.                                                                $      0.00 $                 0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act Debtor $                         0.00 Spouse $        0.00 $        0.00 $                 0.00
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
              payments paid by your spouse if Column B is completed, but include all other payments of
              alimony or separate maintenance. Do not include any benefits received under the Social
     9        Security Act or payments received as a victim of a war crime, crime against humanity, or as a
              victim of international or domestic terrorism.
                                                                          Debtor               Spouse
               a.                                                  $                      $
               b.                                                  $                      $                   $               0.00 $                 0.00
    10        Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
              completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                           $   2,000.00 $          1,972.64


Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                Case 8:10-bk-01013-CED                                 Doc 1   Filed 01/19/10   Page 55 of 55
B22B (Official Form 22B) (Chapter 11) (01/08)                                                                                                       2

              Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11        Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
              from Line 10, Column A.                                                                                 $                            3,972.64

                                                                               Part II. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
    12                      Date: January 19, 2010                                        Signature: /s/ Michael S Longenecker
                                                                                                       Michael S Longenecker
                                                                                                                  (Debtor)




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                         Best Case Bankruptcy
